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     THOMAS A. JOHNSON, SBN 119203
 1   Kristy M. Horton, SBN 271250
     Law Office of Thomas A. Johnson
 2   400 Capital Mall, Suite 2560
     Sacramento, CA 95814
 3   Telephone: (916) 442-4022
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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                )    Case No. 2:17-cr-00155-MCE
11   UNITED STATES OF AMERICA,                  )
               Plaintiff,                       )
12                                              )    STIPULATION AND ORDER FOR
13
           vs.                                  )    CONTINUANCE OF STATUS
                                                )    CONFERENCE
14   LUIS NUNEZ,                                )
     PABLO VARGAS, and                          )    Date: 9/19/19
15   GREGORIO NUNEZ,                            )    Time: 9:00 a.m.
                                                )    Judge: Morrison C. England, Jr.
16                 Defendants.                  )
17
18
                                         STIPULATION
19
20         The United States of America through its undersigned counsel, James Conolly,
21   Assistant United States Attorney, together with Thomas A. Johnson, counsel for Gregorio
22   Nunez, Armando Villapudua, counsel for Luis Nunez, and T. Lance Archer, counsel for
23   Pablo Vargas, hereby stipulate the following:
24      1. By previous order, this matter was set for Status Conference on September 19,
25         2019.
26      2. By this stipulation, Defendant now moves to continue the Status Conference to
27         October 17, 2019, at 10:00 a.m. and to exclude time between September 19, 2019,
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 1            and October 17, 2019, under the Local Code T-4 (to allow defense counsel time to
 2            prepare).
 3         3. The parties agree and stipulate, and request the Court find the following:
 4            a. A continuance is requested because attorney for the defendant, Gregorio
 5               Nunez, was recently substituted into this case and needs additional time to
 6               review the discovery, conduct investigation, and discuss a potential resolution.
 7               Attorney for defendant believes the failure to grant a continuance in this case
 8               would deny defense counsel reasonable time necessary for effective
 9               preparation, taking into account the exercise of due diligence. An extension is
10               necessary for the continuity of defense counsel as well.
11            b. The Government does not object to the continuance.
12            c. Based on the above-stated findings, the ends of justice served by granting the
13               requested continuance outweigh the best interests of the public and the
14               defendants in a speedy trial within the original date prescribed by the Speedy
15               Trial Act.
16            d. For the purpose of computing time under the Speedy Trial Act, 18 United
17               States Code Section 3161(h)(7)(A) within which trial must commence, the
18               time period of September 19, 2019 to October 17, 2019, inclusive, is deemed
19               excludable pursuant to 18 United States Code Section 3161(h)(7)(A) and
20               (B)(iv), corresponding to Local Code T-4 because it results from a continuance
21               granted by the Court at defendant’s request on the basis of the Court’s finding
22               that the ends of justice served by taking such action outweigh the best interest
23               of the public and the defendant in a speedy trial.
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 1      4. Nothing in this stipulation and order shall preclude a finding that other provisions
 2         of the Speedy Trial Act dictate that additional time periods are excludable from
 3         the period within which a trial must commence.
 4
 5   IT IS SO STIPULATED.
 6
     DATED: September 16, 2019                By:     /s/ Thomas A. Johnson_____
 7                                                    THOMAS A. JOHNSON
                                                      Attorney for Gregorio Nunez
 8
 9
10
11   DATED: September 16, 2019                        McGREGOR W. SCOTT
                                                      United States Attorney
12
                                              By:    /s/ James Conolly            _______
13                                                    JAMES CONOLLY
                                                      Assistant U.S. Attorney
14
15
     DATED: September 16, 2019                By:     /s/ Armando Villapudua_____
16                                                    ARMANDO VILLAPUDUA
                                                      Attorney for Luis Nunez
17
18   DATED: September 16, 2019                By:     /s/ T. Lance Archer_____
                                                      T. LANCE ARCHER
19                                                    Attorney for Pablo Vargas
20
                                             ORDER
21
           IT IS SO ORDERED.
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23
     Dated: September 19, 2019
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